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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN D. BUTLER,                            :   CIVIL ACTION NO. 1:21-CV-491
                                           :
                    Petitioner             :   (Judge Conner)
                                           :
             v.                            :
                                           :
SERGEANT BRADLEY, et al.,                  :
                                           :
                    Respondents            :

                                       ORDER

      AND NOW, this 27th day of October, 2021, upon consideration of the petition

(Doc. 1) for writ of habeas corpus and the parties’ respective briefs in support of and

opposition to the petition, and for the reasons set forth in the accompanying

memorandum, it is hereby ORDERED that:

      1.     The petition (Doc. 1) for writ of habeas corpus is DISMISSED without
             prejudice.

      2.     The Clerk of Court is DIRECTED to close this case.


                                        /S/ CHRISTOPHER C. CONNER
                                        Christopher C. Conner
                                        United States District Judge
                                        Middle District of Pennsylvania
